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              Counterparty                                    Debtor
801 Grand 2006-2                             LBSF
801 GRAND CDO SPC SERIES 2006-1              LBSF

ACCESS GROUP INC. SERIES 2005-B              LBSF
AIRIS NEWARK INT’L AIR CARGO                 LBSF
CENTER
AIRLIE CDO I                                 LBSF
AIRLIE LCDO I (AVIV LCDO 2006- 3,            LBSF
LIMITED)
AIRLIE LCDO II (PEBBLE CREEK 2007-1),        LBSF
LTD.
ALTA CDO 2007-1 LTD                          LBSF
ALTA CDO SPC SERIES 2007-2                   LBSF
SEGREGATED PORTFOLIO
ATLANTA COUNTY UTILITIES                     LBSF
AUTHORITY
AVIV LCDO 2006-1 LIMITED                     LBSF
AVIV LCDO 2006-2 LIMITED                     LBSF
BARTON SPRINGS CDO LIMITED SPC               LBSF
SERIES 2005-1
BENEDICTINE HEALTH SYSTEM                    LBSF
BLUE POINT CDO LIMITED SPC SERIES            LBSF
2005-1
BLUE POINT CDO LIMITED SPC SERIES            LBSF
2005-2
CBTC 2004-6                                  LBSF
CHERRY HILL CDO SPC, F/A/O THE               LBSF
SERIES 2007-1 SEG PORTF
CHERRY HILL CDO SPC, F/A/OTHE                LBSF
SERIES 2007-2 SEG PORTF
CITY OF HAWTHORNE                            LBSF
CITY OF REDDING, CALIFORNIA                  LBSF
CITY OF THOUSAND OAKS                        LBSF
CLARK ATLANTA UNIVERSITY                     LBSF
COPPER CREEK 2007-1                          LBSF
DOW JONES CDX.NA.HY.3 TRUST 1                LBSF
DECEMBER 2009
DOW JONES CDX.NA.HY.3 TRUST 2                LBSF
DECEMBER 2009
DOW JONES CDX.NA.HY.3 TRUST 3                LBSF
DECEMBER 2009
DOW JONES CDX.NA.HY.3 TRUST 4                LBSF
DECEMBER 2009
EMERALDS SERIES 2007-1 TRUST                 LBSF

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EPISCOPEL HOMES FOUNDATION             LBSF
ESP FUNDING                            LBSF
EXUM RIDGE CBO 2006-1 LTD              LBSF
EXUM RIDGE CBO 2006-2 LTD              LBSF
Exum Ridge CBO 2006-4, Ltd.            LBSF
EXUM RIDGE CBO 2006-5 LTD              LBSF
EXUM RIDGE CBO 2007-1, LTD             LBSF
EXUM RIDGE CBO 2007-2 LTD              LBSF
FREEDOM PARK CDO LIMITED SPC           LBSF
SERIES 2005-1
GREYSTONE CDO LIMITED SPC SERIES       LBSF
2006-1
GREYSTONE CDO LIMITED SPC SERIES       LBSF
2006-2
GREYSTONE CDO SPC SERIES 2008-4        LBSF
SEGREGATED PORTFOLIO
GUAM ECONOMIC DEVELOPMENT              LBSF
AUTHORITY
GUAM POWER AUTHORITY                   LBSF
GULF STREAM - COMPASS CLO 2007         LBSF
LTD
ILLINOIS FINANCE AUTHORITY             LBSF
JEFFERSON VALLEY CDO LIMITED SPC       LBSF
SERIES 2006-1
LAKEVIEW CDO 2007-2                    LBSF
LAKEVIEW CDO SPC 2007-1                LBSF
LAKEVIEW CDO SPC 2007-3                LBSF
LAKEVIEW 2007-4                        LBSF
LB COMMERCIAL TRUST 2007-C3            LBSF
LB-UBS COMMERCIAL MORTGAGE             LBSF
TRUST 2007-C6
LB-UBS COMMERCIAL MORTGAGE             LBSF
TRUST 2008-C1
LEHMAN BROTHERS SMALL BALANCE          LBSF
COMMERCIAL MORTGAGE TRUST 2007-
2
MASSACHUSETTS DEVELOPMENT              LBSF
FINANCE AGENCY
MASSACHUSETTS HOUSING FINANCE          LBSF
AGENCY
MASSACHUSETTS STATE COLLEGE            LBSF
BUILDING AUTHORITY
MICHIGAN SATE HOUSING                  LBSF
DEVELOPMENT AUTHORITY
ORANGE COUNTY, CALIFORNIA              LBSF
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PANTERA VIVE CDO LIMITED SPC           LBSF
SERIES 2007-1
PEBBLE CREEK LCDO 2006-1 LTD           LBSF
Pebble Creek LCDO 2007-3, Ltd.         LBSF
PENNS LANDING CDO 2007-1               LBSF
PYXIS ABS CDO 2007-1                   LBSF
RACERS 2003-07-A CITI                  LBSF
RACERS 2005-10-C                       LBSF
RACERS 2005-13-C                       LBSF
RACERS 2005-19-C                       LBSF
RACERS 2005-21-C                       LBSF
RACERS 2006-18-C ABX-A-06-1-I          LBSF
RACERS 2006-18-C ABX-A-06-1-II         LBSF
RACERS 2006-18-C ABX-A-06-1-III        LBSF
RACERS 2006-18-C ABX-A-06-2-I          LBSF
RACERS 2006-18-C ABX-A-06-2-II         LBSF
RACERS 2006-18-C ABX-A-06-2-III        LBSF
RACERS 2006-1-C                        LBSF
RACERS 2006-20-AT                      LBSF
RACERS 2007-4-C FTD                    LBSF
RACERS 2007-7-MM                       LBSF
RACERS 2008-2-C                        LBSF
RACERS 2008-3-C                        LBSF
REPACKAGED AMERICAN GENERAL            LBSF
FRTC 2003-1
RESTRUCTURED ASSET CERTIFICATES        LBSF
WITH ENHANCED RETURNS, SERIES
2005-21-C TRUST
RESTRUCTURED ASSET CERTIFICATES        LBSF
WITH ENHANCED RETURNS, SERIES
2007-4-C TRUST
SGS HY CREDIT FUND I (EXUM RIDGE       LBSF
CBO 2006-3) LTD
SOLAR V CDO SPC, F/A/O THE SERIES      LBSF
2007-1 SEGR PORTF
ST. JOSEPH’S UNIVERSITY                LBSF
STOWE CDO SERIES 2006-1 LLC            LBSF
SUNSET PARK 2004-1                     LBSF
SUNSET PARK 2004-2                     LBSF
SUNSET PARK 2004-4                     LBSF
SUNSET PARK CDO LIMITED SPC SERIES     LBSF
2005-3
SUNSET PARK CDO LIMITED SPC SERIES     LBSF
2005-5
SUNSET PARK CDO SERIES 2005-6 LLC      LBSF
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THE SERIES 2007-1 TABXSPOKE                     LBSF
SEGREGATED PORTFOLIO
WHITE MARLIN CDO 2007-1 LIMITED                 LBSF
R07B62 (1000-100 WILSON OWNER LLC)              LBHI
R07D07 (EXMOOR 2008-1)                          LBHI
R06B30 (LB-UBS 2006-C6)                         LBHI
R07D19 (CALWEST MEZZ C: CALWEST                 LBHI
MEZZ D: CALWEST MEZZ F)
Custodial Agreement by and among Lehman         Lehman Capital, a Division of Lehman
Capital, a division of Lehman Brothers          Brothers Holdings Inc.
Holdings Inc. (Owner), and Aurora Loan
Services Inc. (Servicer) and LaSalle National
Bank (Custodian), dated as of April 14, 1998


Custodial Agreement by and among Lehman         Lehman Capital, a Division of Lehman
Capital, a division of Lehman Brothers          Brothers Holdings Inc.
Holdings, Inc. (Owner and Servicer), and
LaSalle National Bank (Custodian), dated as
of December 2, 1998
